         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                  CRIMINAL NO. 3:01CR85 & 3:04CR4


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )                    ORDER
                          )
                          )
TORAINE ANTON LEE                       )
                        )


     THIS MATTER is before the Court sua sponte to continue the

sentencing hearing from the January 30, 2006, calendar in Statesville.

     The Defendant was convicted after a jury trial in September 2005 on

similar charges as those pending in the captioned cases. See generally,

Criminal No. 5:05CR210. The latest case was reassigned to the

undersigned on January 19, 2006, and a revised presentence report

incorporating all three cases was mailed to counsel on January 23, 2006.

Because the disclosure period and time for objections will not have expired

before the current sentencing date, the case will be continued from the

January 30 2006, calendar.




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     IT IS, THEREFORE, ORDERED that this case is continued from the

January 30, 2006,sentencing calendar.



                                   Signed: January 24, 2006




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